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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                           4:19-CR-3094

vs.                                           MEMORANDUM AND ORDER

JONATHAN MANZI,

                   Defendant.


      This matter is before the Court on the defendant's objection (filing 87) to
the Magistrate Judge's Findings, Recommendation, and Order (filing 82)
recommending that the defendant's Motion to Suppress (filing 31) be denied.
The Court has conducted a de novo review of the motion to suppress, pursuant
to 28 U.S.C. § 636(b)(1). On its de novo review, the Court agrees with the
Magistrate Judge's findings and recommendation, and will adopt them.
      The Court particularly notes that the defendant's reliance on Sgro v.
United States, 287 U.S. 206 (1932) is misplaced. In Sgro, the search warrant
at issue was both expired and stale—as the Supreme Court explained, the
successive warrant pursuant to which the search for unlawful liquor had been
executed was based on "no proof to show that probable cause then existed" and
the issuing authority "made no finding of probable cause at that time." Id. at
140-41. In this case, however, as the Magistrate Judge correctly found, "[t]he
warrant targeted pre-existing account information, so the affiant's probable
cause did not become stale" before the return on the warrant. Filing 82 at 7;
see United States v. Nyah, 928 F.3d 694, 700-701 (8th Cir. 2019).
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     So as to that issue, and as to each of the issues presented, the Court
agrees in full with the Magistrate Judge's reasoning and conclusions.
Accordingly,


     IT IS ORDERED:


     1.    The Magistrate Judge's Findings and Recommendation
           (filing 82) are adopted.


     2.    The defendant's objection (filing 87) is overruled.


     3.    The defendant's Motion to Dismiss (filing 31) is denied.


     Dated this 2nd day of March, 2021.


                                            BY THE COURT:


                                            John M. Gerrard
                                            Chief United States District Judge




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